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3                                        UNITED STATES DISTRICT COURT

4                                            DISTRICT OF NEVADA

5                                                        ***

6
      FEDERAL TRADE COMMISSION,
7
                            Plaintiff,
8                                                           2:12-CV-00536-GMN-VCF
      vs.                                                   ORDER
9     AMG SERVICES, INC., et al.,
10                          Defendants.

11

12          Before the court is the Joint Motion to Approve Proposed Settlement Agreement with Whamtech,
13   Inc. (ECF NO. 1240).
14          No opposition has been filed and the time to file an opposition has passed. Under LR 7-2(d), the
15   failure of an opposing party to file points and authorities in response to any motion, except a motion under
16   Fed. R. Civ. P. 56 or a motion for attorney’s fees, constitutes a consent to the granting of the motion.
17          Here, it seems as though the parties have consented to the granting of the instant motion.
18          Accordingly, and for good cause shown,
19          IT IS HEREBY ORDERED that the Joint Motion to Approve Proposed Settlement Agreement
20   with Whamtech, Inc. (ECF NO. 1240) is GRANTED.
21

22          DATED this 17th day of April, 2019.
                                                                  _________________________
23
                                                                  CAM FERENBACH
24
                                                                  UNITED STATES MAGISTRATE JUDGE

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